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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF INDIANA


 LIGTEL COMMUNICATIONS, INC.,

                         Plaintiff,

                   v.
                                                Case No. 1:20-cv-00037-HAB-SLC
 BAICELLS TECHNOLOGIES INC.;
                                                DECLARATION OF
 BAICELLS TECHNOLOGIES NORTH AMERICA
                                                JOSH WENTWORTH
 INC.,

                         Defendants.
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 I, Josh Wentworth, declare the following:

         1.     I am the Network Operations Supervisor for LigTel Communications, Inc.

 (“LigTel”). LigTel was founded as a subsidiary of Ligonier Telephone Company in April 1998

 and is a family-owned company that proudly provides broadband internet, television, and wireless

 telephone service in seven counties in northeastern Indiana. In my role, I design, implement, and

 maintain LigTel’s network infrastructure. I have been employed at LigTel for over fourteen years.

    I.        HNI Codes

         2.     I understand that LTE devices that provide broadband in the United States have a

 unique fifteen-digit number, called an International Mobile Subscriber Identity (“IMSI”). An

 IMSI includes three parts: (1) three-digit Mobile Country Code (“MCC”); (2) three-digit Mobile

 Network Code (“MNC”); and (3) nine-digit Mobile Station Identification Number (“MSIN”). The

 first six digits of the IMSI is known as a Home Network Identity (“HNI”) or Public Land Mobile

 Network (“PLMN”) code. This number identifies the carrier. The remaining nine digits identify

 that particular subscriber or device.

         3.     HNI codes in the United States always start with 310, 311, 312, 313, 314, 315 or

 316, the MCCs that are assigned to the United States.

         4.     I understand that the IMSI Oversight Council (“IOC”), is a committee within the

 Alliance for Telecommunications Industry Solutions (“ATIS”), and governs the assignment and

 administration of the HNI code, and iconectiv is the US IMSI administrator, which means that it

 is the entity that does the day-to-day assignment and administration of HNI codes.

         5.     I understand that a network core is a central component of the wireless network that

 allows subscribers to connect to the Internet. The core coordinates the broadcasting signal,




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 contains information about LigTel’s subscribers, and authenticates those subscribers using IMSIs

 and HNI codes so they can connect to the Internet.

        6.      From my work, I know that HNI codes serve many functions. Most importantly,

 they identify the network to which a subscriber belongs. That allows other providers to identify

 the source of an interfering signal, to manage customers roaming on another provider’s network

 and to determine what (if any) roaming charges are required.

        7.      It is my understanding that HNI codes have always been six digits in the United

 States. In fact, I have never heard of a five-digit HNI code in the United States prior to learning

 of Baicells’s use of one. I also know that the ATIS guidelines provide that all HNI codes in the

 United States are six digits.

        8.      I understand that the HNI system was first put in use by European and Asian

 operators who first adopted LTE technology. Some of those early European and Asian operators

 used five-digit HNI codes. While those early operators in Europe and Asia still use their five-digit

 codes, the United States more recently adopted the HNI code system to standardize roaming with

 the development of LTE technology, and as a result, all United States HNI codes are six digits and

 have always been six digits.

        9.      It is also my understanding that using another carrier’s HNI code without approval

 is not permitted. Exhibit 1 is a true and correct copy of the IMSI Assignment and Management

 Guidelines and Procedures (“IMSI Guidelines”) (Aug. 2018), found on the ATIS website,

 https://www.atis.org/01_committ_forums/ioc/docs/IMSI-Guidelines-v15.1.1.pdf; sections 6 and 7

 address the responsibilities of HNI code assignees. In addition, from managing LigTel’s HNI

 code, I know that the IMSI Oversight Council guidelines require HNI owners to assign, efficiently




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 manage, and maintain up-to-date and accurate assignment records relating to their mobile

 terminals and users.

          10.      Based on my experience, to obtain a HNI code, one must submit a request to

 iconectiv, which is responsible for the assignment and administration of the HNI code. The

 guidelines do not allow an entity to simply decide on a HNI code on its own or to pick a number

 to use; rather, the guidelines prescribe requirements to obtain and maintain a HNI code. If

 iconectiv finds the applicant meets the requirements, iconectiv assigns the applicant an HNI code.

          11.      LigTel has received requests from law enforcement for information on LigTel

 subscribers. My understanding is that law enforcement is able to identify a suspect or target’s

 cellular service provider based on the customer’s IMSI number, which, as previously explained,

 has, as the first six digits, the HNI code used by the subscriber’s equipment. My understanding is

 that law enforcement thus may use the HNI code to determine which company to serve with legally

 authorized process for a search, seizure, or surveillance when necessary.

          12.      On November 7, 2011, ATIS assigned LigTel an HNI code of 311980. Exhibit 2

 is a true and correct copy of the letter from Telcordia d/b/a iconectiv confirming LigTel’s HNI

 code assignment. LigTel has annually paid the maintenance fee since that date. Exhibit 3 is a true

 and correct copy of LigTel’s proof of payment for the annual maintenance HNI code fees for 2018

 and 2019.

    II.         LigTel Trade Secrets and Proprietary Information

          13.      As part of its commitment to investing in cutting-edge infrastructure for its wireless

 service customers, in 2012 LigTel upgraded to an LTE network. LigTel engaged Huawei to help

 it build its LTE core. In order for Huawei to build LigTel’s LTE core, LigTel would need to share

 its radio frequency configurations, IP infrastructure (both physical and logical), its network




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 engineering and architecture, the technologies LigTel employed to connect its networks, and

 LigTel’s encryption code with Huawei. Accordingly, LigTel entered non-disclosure agreements

 with Huawei. Exhibits 4 and 16 are redacted true and correct copies of two non-disclosure

 agreements between Huawei and LigTel.

        14.     The non-disclosure agreements with Huawei are examples of how LigTel protects

 its confidential and proprietary information. In fact, LigTel takes a variety of measures to protect

 its trade secrets and proprietary information. For instance, LigTel requires all employees to sign

 confidentially agreements and to be trained on cybersecurity policies. Exhibits 5 and 6 are true

 and correct copies of LigTel’s cybersecurity policies, and Exhibit 7 is a true and correct copy of

 several confidentiality agreements signed by LigTel employees. LigTel also enters non-disclosure

 agreements with companies with whom it shares any propriety and sensitive trade secrets, just as

 it did with Huawei.

        15.     I was the primary employee at LigTel responsible for deploying that LTE network

 using a new LTE core which was manufactured by Huawei. LigTel was Huawei’s first commercial

 deployment of an LTE core in North America.

        16.     In 2012, LigTel upgraded to an LTE network and engaged Huawei to assist in this

 upgrade. I worked closely with Huawei employees on the design, build, configuration, and

 maintenance of the LTE core. On LigTel’s behalf, I provided Huawei with the confidential and

 sensitive information about our network needed to configure the core. Huawei agreed to a non-

 disclosure agreement, as is typical for such core installations. LigTel viewed the NDA as critical

 to ensure that our confidential and proprietary trade secrets remained protected. Those trade

 secrets are immensely valuable to our business.




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           17.      I know from my work that the trade secrets that LigTel provided Huawei included

 radio frequency configurations, IP infrastructure (both physical and logical), network engineering

 and architecture, the technologies LigTel employed to connect its networks, and LigTel’s

 encryption code, which encrypts communications between our subscribers and our network.

 Someone with possession of this information would be able to decrypt communications between

 LigTel’s subscribers and LigTel’s network, access customer traffic with LigTel’s network, and

 spoof a connection and masquerade as a customer to gain unauthorized access to LigTel’s network.

           18.      I worked directly with Ronald Mao, a Huawei employee, on technical projects

 related to LigTel’s LTE core. Mao was one of the Huawei employees who worked on maintaining

 and expanding LigTel’s equipment after the initial installation. Mao had access to all of the

 confidential trade secrets that LigTel shared with Huawei. For instance, in 2017, Mao was

 included on emails I sent discussing the locations of towers, development of the LTE work, and

 other proprietary information, all of which is a component of the network architecture. Exhibit 8

 is a true and correct copy of an April 17, 2017 email from myself to Huawei employees, including

 Mao. My understanding is that Mao left Huawei to work at Baicells.

    III.         Interference and Investigation

           19.      On June 21, 2019, I was contacted by Jeff Brown at Viaero Wireless, a wireless

 service provider in northeast Colorado, about a possible interference caused by a carrier appearing

 to use LigTel’s HNI code in Nebraska. Exhibit 9 is a true and correct copy of a June 21, 2019

 email from Brown confirming our telephone conversation.            Viaero’s interference problem

 surprised me, because LigTel has never done any business in Colorado or Nebraska. On June 26,

 2019, Brown contacted me again to let me know that the night before, on June 25, 2019, Viaero

 identified equipment from Sandhills Wireless in Nebraska that was transmitting a signal that




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 appeared to be LigTel’s signal because it had HNI code 31198. Exhibit 10 is a true and correct

 copy of the June 26, 2019 email from Brown to me providing this information. I explained to

 Brown that LigTel did not provide any services in Nebraska.

        20.     Brown discovered that the interference was caused by Sandhills Wireless LLC

 broadcasting a PLMN of 311980 using equipment from Baicells. Brown also discovered that

 Baicells had posted on its website for their customers to use the HNI code “31198” when setting

 up their network on Baicells’s core.

        21.     Baicells’s use of 31198 makes it appear Baicells is using LigTel’s HNI code. I

 ordered Baicells SIM cards to confirm what numbers appeared after their five-digit HNI code and

 found that the following numbers were zeros—in other words Baicells’s SIM cards actually use

 LigTel’s HNI code. Exhibit 11 shows true and correct copies of photos of the Baicells SIM cards

 that we received.

        22.     It is my understanding that Baicells is an equipment vendor that provides LTE

 service equipment and LTE core solutions to providers that are in the same business as LigTel.

 LigTel and Baicells have never done business together.1 From reviewing public records online, it

 is my understanding that the founders of Baicells, Scott Xingang Liang and Yingzhe Ding, worked

 at Huawei before leaving to found Baicells. I also observed that Baicells’s public website and

 other communications directed to industry, customers, and potential customers—including online

 updates, technical documents, and other materials—contained instructions for using an HNI code

 that appears to the world to be LigTel’s.



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   As of January 20, 2020, my understanding was that LigTel and Baicells had no connections.
 Upon further investigation, I came to learn that in 2017 an official at LigTel was introduced to an
 official at Baicells and in 2018, I reached out to Baicells to discuss potentially serving as an
 equipment supplier. LigTel did not select Baicells to provide that equipment and has never done
 business with Baicells or otherwise worked with Baicells.


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        23.     LigTel has never authorized Baicells to use its HNI code.

        24.     On or around July 2, 2019, I spoke with Sam Tetherow of Sandhills. He confirmed

 that Sandhills was using Baicells issued SIM cards with IMSIs that start with “311980.” Because

 this was an issue caused by Baicells (where Sandhills’s network was configured to LigTel’s

 MCC/MNC), I gave Tetherow a verbal confirmation that he could continue to transmit until

 informed otherwise. During the conversation, he seemed concerned and willing to cooperate. He

 also stated that he worked as a consultant for at least one additional wireless internet service

 provider in Nebraska that is using the Baicells cloud system and using the HNI code “311980.”

        25.     On June 28, 2019, we sent a cease and desist letter to Sandhills demanding that it

 stop its unauthorized use of an HNI code that appears to the world to be LigTel’s. After continued

 – and positive – discussions, LigTel granted Sandhills a limited right to use LigTel’s HNI code.

 Exhibit 12 is a true and correct copy of the July 3, 2019 letter granting Sandhills a limited right to

 use LigTel’s HNI code, and Exhibit 13 is a true and correct copy of the July 31, 2019 email and

 letter from LigTel extending Sandhills’s limited right to use.

        26.     After we learned that Baicells was using an HNI code that appears to the world to

 be LigTel’s, I investigated further. I spoke with others in the industry to see if any other entities

 were using Baicells’s equipment. I learned that New Lisbon Broadband and Communications

 (“New Lisbon”), an Indiana company, was using Baicells’s equipment. I called the company and

 learned that it was indeed using an HNI code that appears to the world to be LigTel’s and that

 Baicells had directed them to do so. We informed New Lisbon that Baicells was not authorized to

 use LigTel’s HNI code or an HNI code that appears to the world to be LigTel’s. New Lisbon was

 not aware that it was improperly using an HNI code that appears to the world to be LigTel’s. It

 also confirmed that Baicells had directed it to use LigTel’s HNI code.




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    IV.         Baicells Unauthorized Use of LigTel HNI Code

          27.      On or around July 12, 2019, I reached out to Baicells. I spoke with Rick Harnish,

 Baicells’ Director of WISP Markets in North America, and we decided that the two entities should

 meet in person. Accordingly, on July 29 2019, Baicells came to our offices in Ligonier. I

 participated in this meeting with Baicells.

          28.      On the Baicells side, the meeting was attended by Rick Harnish; Bo Wei, North

 American President of Baicells; and Ronald Mao, the Baicells technical advisor who worked on

 LigTel’s core when he was formerly employed at Huawei.

          29.      As previously mentioned, Mao worked at Huawei prior to his employment at

 Baicells and worked directly with LigTel on technical aspects of projects related to LigTel’s LTE

 core. Mao had access to LigTel’s confidential trade secrets, including LigTel’s encryption code

 (which masks the content of traffic between LigTel’s core and subscribers), and LigTel’s network

 architecture (which is the proprietary operational layout of LigTel’s equipment, core, and servers).

 LigTel representatives included Randy Mead, LigTel’s CEO and General Manager; Josh

 Wentworth, LigTel’s Network Operations Supervisor; Mike Troup, LigTel’s Network Operations

 Manager; and counsel for LigTel.

          30.      After the meeting, Mead told me that Wei had privately offered to have Mao “get

 into” and reprogram our Huawei core himself. He then restated this to the whole group. I took

 that statement to mean that Baicells had the ability to access LigTel’s network and reprogram

 LigTel’s core, meaning that Baicells already possessed LigTel’s trade secrets.

          31.      Since that meeting, Baicells has not agreed to return LigTel’s trade secrets or to not

 use those secrets.




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     V.         ATIS Relief Process

          32.      It is my understanding that Baicells’s use of an HNI code that appears to the world

  to be LigTel’s disregards the ATIS guidelines. I am familiar with these guidelines from my work

  at LigTel. Accordingly, we decided to pursue relief through the IMSI Oversight Council (IOC), a

  committee within ATIS. This committee maintains and ensures compliance with the IMSI

  Assignment and Management Guidelines and Procedures. ATIS offers parties a way to attempt

  to voluntarily resolve disputes related to HNI codes without interfering with the parties’ right to

  pursue relief elsewhere.

          33.      On August 21, 2019, our attorney sent Tom Goode at ATIS a letter regarding

  Baicells’s use of an HNI code that appears to the world to be LigTel’s. Exhibit 14 is a true and

  correct copy of the August 21, 2019 letter LigTel sent to Goode at ATIS. The letter explained that

  LigTel was requesting formal action from ATIS and/or the IOC to resolve Baicells’s ongoing

  unauthorized use of an HNI code that appears to the world to be LigTel’s. The letter further

  explained that Baicells’s use of an HNI code that appears to the world to be LigTel’s violated

  regulations and frustrated LigTel’s ability to maintain up-to-date and accurate assignment records

  as required under the IMSI Guidelines. Our letter requested that the IOC direct Baicells to

  immediately cease and desist from using HNI 311980 or any substantially similar network

  identification code (such as PLMN 31198) within any portion of its operations. Around this time,

  I learned that Baicells obtained its own HNI code, 314030. Yet, it has not fully migrated its

  customers to that code or stopped using LigTel’s code.

          34.      As a part of this process, Baicells submitted a migration plan to ATIS, and

  periodically submits progress reports regarding that migration plan. The most recent report, from

  March 2020, is a 5-page PowerPoint that (like prior submissions) is vague and does not address its




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  customers’ continued use of LigTel’s HNI code in their SIM cards. To my knowledge, Exhibit 15

  is a true and correct copy of the presentation that Baicells submitted to ATIS in March 2020.

         35.     It is my understanding, that Baicells is not replacing SIM cards for its customers

  using LigTel’s HNI code. Thus, LigTel’s HNI will continue to be used by persons or entities who

  are not LigTel end users. Accordingly, it appears that the LigTel HNI code will still be used by

  Baicells despite the IMSI Guidelines, which assign one HNI code for each valid network operator.

         36.     Baicells has told us that it would begin using new SIM cards for its new customers

  (with its new HNI code) and that it will broadcast this new HNI code for its customers using

  LigTel’s HNI code. There are a variety of reasons why Baicells’s plan to not change its SIM cards

  is not effective. For instance, even if Baicells broadcasts its new HNI code for its SIM cards still

  using LigTel’s HNI code, individual users would still have SIM cards with IMSI numbers

  beginning with LigTel’s HNI code. As a result, law enforcement would still identify individual

  subscribers as LigTel customers—and could order LigTel to provide information about a Baicells

  customer, which it would be unable to do. There is also a risk that users could have identical

  IMSIs, which again poses a great risk of confusion if law enforcement need to identify a person

  by this code. This creates a serious public safety issue.

         37.     As another example of its deficiency, when a Baicells subscriber connects to

  another network via roaming, the other network would identify the customer as a LigTel customer,

  when it was a Baicells consumer, because other operators are looking for six-digit HNI codes.

  LigTel could then be erroneously charged instead of the Baicells customer—and if LigTel refuses

  to pay roaming charges that other networks believe they are owed, LigTel will further suffer.

         38.     Finally, any interference that appears to generate from LigTel’s network makes

  LigTel appear to be unable or unwilling to operate its equipment correctly, and makes other




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  providers believe that LigTel operates its network without complying with international and

  industry-imposed telecommunications rules.        This puts LigTel in a difficult position when

  negotiating cross-border and roaming agreements, which it is required to do. If other carriers

  believe that LigTel is not properly operating its network, LigTel’s ability to secure favorable

  agreements for its customers will suffer.

  Current Action: LigTel v. Baicells

            39.   In sum, the ATIS process proved ineffective—among other things, Baicells has

  refused to propose an acceptable or credible resolution to the situation, has failed to provide a

  binding and detailed timeline of when it will cease using an HNI code that appears to the world to

  be LigTel’s, and has intimated that it may take the position that ATIS lacks authority to order

  relief.

            40.   In addition, the monthly ATIS submissions from Baicells are vague and do not

  account for the issues of its continued use of LigTel’s HNI code.

            41.   If LigTel’s customers learned that Baicells was using an HNI code that appears to

  the world to be LigTel’s or had LigTel’s encryption code, it would cause customers to lose

  confidence in LigTel, because customers would wonder whether their own information had been

  compromised and whether LigTel’s network remained secure.

            42.   LigTel is unaware of the full scope of Baicells’s use of an HNI code that appears

  to the world to be LigTel’s—LigTel cannot determine how many subscribers in how many

  jurisdictions appear to be LigTel subscribers based on their HNI code, but are not actually LigTel

  subscribers.

            43.   I do not believe that Baicells has any good faith intention to stop using an HNI code

  that appears to the world to be LigTel’s or to stop possessing or using LigTel’s trade secrets.




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